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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION


 CHAMBER OF COMMERCE OF
 THE UNITED STATES OF
 AMERICA; FORT WORTH
 CHAMBER OF COMMERCE;
 LONGVIEW CHAMBER OF
 COMMERCE; AMERICAN
 BANKERS ASSOCIATION;
 CONSUMER BANKERS
 ASSOCIATION; and TEXAS
 ASSOCIATION OF BUSINESS,

      Plaintiffs,

 v.                                                   Case No.: 4:24-cv-213-P

 CONSUMER FINANCIAL PROTECTION
 BUREAU; and ROHIT CHOPRA, in his
 official capacity as Director of the Consumer
 Financial Protection Bureau,

      Defendants.


                                              NOTICE

         Yesterday, the Supreme Court issued Consumer Financial Protection Bureau v.

Community Financial Services Association of America, Ltd., No. 22-448, 2024 WL 2193873

(U.S. May 16, 2024), reversing the Fifth Circuit’s decision (Community Financial Services

Association of America, Ltd. v. CFPB, 51 F.4th 616, 643 (5th Cir. 2022)) regarding the

constitutionality of the Bureau’s funding. This decision has obvious implications for the

continuing validity of the preliminary injunction issued by this Court on May 10, 2024, based on

the Fifth Circuit’s decision. ECF No. 82 at 5-6. Plaintiffs’ early appeal to the Fifth Circuit

complicates matters, however. It is not clear that this Court has jurisdiction to revisit the



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preliminary injunction given the limited remand granted to the District Court by the Fifth Circuit.

See Chamber of Commerce v. CFPB, 24-10248, ECF No. 105-1 (5th Cir.). Defendants foresaw

the continuing jurisdictional complications that the appeal would present and filed a motion on

May 15, 2024, asking the Fifth Circuit to dismiss the appeal as moot, to allow this Court to

manage this case without the cloud of the appeal hanging over it. See Chamber of Commerce,

24-10248, ECF No. 116. And in light of yesterday’s Supreme Court decision, Defendants have

filed a Rule 28(j) letter reiterating their request that the Fifth Circuit dismiss the appeal. Chamber

of Commerce, 24-10248, ECF No. 119. Plaintiffs have opposed the request to fully return

jurisdiction to this Court and have advocated that the Fifth Circuit make clear that the Court has

just enough jurisdiction to revisit the preliminary injunction, see Chamber of Commerce, 24-

10248, ECF No. 117—but, and this is unstated, not enough to transfer the case as it has

expressed an intent to do, see Order, ECF No. 82, at 11 n.7. Defendants will apprise the Court of

any relevant developments in the Fifth Circuit.



DATED: May 17, 2024                                   Respectfully Submitted,


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                                                      General Counsel

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                                                      /s/ Justin M. Sandberg
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                               CERTIFICATE OF SERVICE

       I hereby certify on May 17, 2024, a true and correct copy of this document was served

electronically by the Court’s CM/ECF system to all counsel of record.


                                                   /s/ Justin M. Sandberg
                                                   Justin M. Sandberg
